Case 1:12-cv-23743-PCH Document 80 Entered on FLSD Docket 02/18/2015 Page 1 of 4



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       (MIAMI DIVISION)

                              CASE NO. 12-CV-23743-PCH/Otazo-Reyes

  RICARDO DEVENGOECHEA,                                           District Judge: Paul C. Huck
                                                                  Magistrate Judge: Alicia M. Otazo-Reyes
                Plaintiff,

  vs.

  BOLIVARIAN REPUBLIC OF VENEZUELA,
  a foreign state,

                Defendant,

  and,

  BANK OF AMERICA, N.A.,

              Garnishee.
  _______________________________________/

                      GARNISHEE BANK OF AMERICA, N.A.’S
                   MOTION FOR STAY PENDING SETTLEMENT
               NEGOTIATIONS AND NOTICE OF PENDING SETTLEMENT

         Bank of America, N.A., (“Bank of America” or the “Bank”), by and through its

  undersigned counsel, pursuant to Local Rule 7.1(a) for the United States District Court for the

  Southern District of Florida, and for good cause, hereby files this Motion for Stay Pending

  Settlement Negotiations and Notice of Pending Settlement, and as grounds therefore states as

  follows:

         1.     This case involves garnishment proceedings in which this Court granted

  Defendant’s Motion to Dissolve Writ of Garnishment [D.E. 52] in an Order Adopting Report and

  Recommendation and Dissolving Writ of Garnishment [D.E. 70].

         2.     Thereafter, Bank of America as garnishee filed a Motion for Attorney’s Fees and

  Costs Pursuant to § 77.28, Florida Statutes (hereafter, “Motion for Fees”) [D.E. 72]. Plaintiff

  then filed a Response in Opposition to Garnishee’s Motion for Attorney’s Fees and Costs and

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Case 1:12-cv-23743-PCH Document 80 Entered on FLSD Docket 02/18/2015 Page 2 of 4
  CASE NO. 12-CV-23743-PCH


  Supporting Memorandum of Law (hereafter, “Response”) [D.E. 74]. The Motion for Fees

  remains pending.

         3.      Bank of America’s reply to the Response was due on February 9, 2015. On that

  day, Bank of America filed a Motion for Extension of Time to Reply to Plaintiff’s Response in

  Opposition to Garnishee’s Motion for Attorney’s Fees and Costs (hereafter, “Motion for

  Extension of Time”) [D.E. 75].

         4.      In the Motion for Extension of Time, Bank of America noted that although it had

  reached a settlement agreement with Plaintiff, it appeared that Plaintiff did not intend to perform.

         5.      However, at this time, the settlement no longer appears to be at risk.

  Consequently, to finalize the documents necessary to culminate and fund the settlement, Bank of

  America seeks a 30 day stay of the garnishment proceedings.

         6.      The undersigned met and conferred with Plaintiff’s and Defendant’s counsel

  regarding this motion, and neither objects to the relief sought.

                                          MEMORANDUM OF LAW

         It is proper to abate proceedings pending settlement negotiations. See In re MDL-1824

  Tri-State Water Rights Litig., 644 F. 3d 1160, 1174 (11th Cir. 2011); see also Taylor v. Alabama,

  275 F. App’x 836, 838 (11th Cir. 2008). Here, it would serve judicial economy to stay the

  garnishment proceedings in this action because Plaintiff and Bank of America are finalizing a

  settlement agreement as to the Motion for Fees.

         WHEREFORE, based upon the foregoing, Bank of America, N.A., respectfully requests

  this Court enter an order staying the garnishment proceedings in this case for 30 days, and grant

  any other such relief this Court deems just and proper.




                                                             -2-
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Case 1:12-cv-23743-PCH Document 80 Entered on FLSD Docket 02/18/2015 Page 3 of 4
  CASE NO. 12-CV-23743-PCH


             CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(3)

         In compliance with local rule 7.1(a)(3), the undersigned hereby certifies that he has

  conferred with all parties and non-parties who may be affected by the relief sought in this motion

  in a good faith effort to resolve by agreement the issues to be raised in this motion. The

  undersigned met and conferred with both Plaintiff’s and Defendant’s counsel, who agree to a

  stay of the proceedings to culminate a settlement agreement as to the Bank’s Motion for Fees.


         Dated: February 18, 2015
                                                                   Respectfully submitted,

                                                                     /s/ Miguel M. Cordano
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                                                                   Attorneys for Garnishee Bank of America,
                                                                   N.A.


                                       CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 18th, 2015 I electronically filed the foregoing

  with the Clerk of Court by using the CM/ECF system. I also certify that the foregoing document

  is being served this day on all counsel or parties of record on the attached Service List via

  transmission of Notices of Electronic Filing generated by CM/ECF.

                                                                    /s/ Miguel M. Cordano
                                                                     Miguel M. Cordano




                                                            -3-
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Case 1:12-cv-23743-PCH Document 80 Entered on FLSD Docket 02/18/2015 Page 4 of 4
  CASE NO. 12-CV-23743-PCH


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                                                           -4-
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